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               EXHIBIT 5
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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS

MISH INT’L MONETARY INC.,
on behalf of itself and
all others similarly situated,                       Case No. 20-cv-04577

                   Plaintiff,

        v.                                           Hon. Manish S. Shah

VEGA CAPITAL LONDON, LTD., et al.,

                   Defendants.


                                  JOINT STATUS REPORT

        Plaintiff Mish International Monetary Inc. and Defendants Vega Capital London Ltd.

(“Vega”), Adrian Spires (together with Vega, the “Vega Defendants”), Paul Commins, George

Commins, Christopher Roase, Elliott Pickering, Aristos Demetriou, Connor Younger, James

Biagioni, Henry Lunn, Paul Sutton, and Matthew Rhys Thompson (collectively, the “Trader

Defendants”) respectfully submit this joint status report pursuant to the Court’s October 25, 2023

Order directing the parties to file a status report by December 14, 2023 addressing the progress of

discovery in this Action. ECF No. 277.

  I.    Case Schedule and Background

        On January 27, 2023, the Court set a discovery and class certification schedule for this

Action (ECF No. 201) in response to the parties’ joint initial status report (ECF No. 196) and

Defendants’ motion to bifurcate class certification and merits discovery (ECF No. 198). The Court

permitted the parties to issue written discovery beginning on January 31, 2023, and set the

following deadlines for class certification motion briefing and fact discovery:

    •   Plaintiff’s motion for class certification, including any supporting expert reports, due



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        January 22, 2024;

    •   Defendants’ opposition to class certification, including any support expert reports, due

        March 4, 2024;

    •   Plaintiff’s class certification reply, including rebuttal expert reports, due April 8, 2024; and

   •    Deadline for completion of all fact discovery, including foreign discovery, due December

        30, 2024.

        On July 12, 2023, the parties submitted a joint status report that detailed, among other

things, the discovery accomplished through early July 2023. ECF No. 244.

        On September 11, 2023, the Court granted in part and denied in part Plaintiff’s motion to

compel and the Trader Defendants’ cross-motion for a protective order, permitting Plaintiff to

depose up to four Trader Defendants in London prior to December 31, 2023. ECF No. 271.

        On October 25, 2023, the Court held a status hearing (ECF No. 277), directed the parties

to submit a status report on discovery progress by December 14, 2023 (id.), and entered the parties’

stipulated deposition protocol. ECF No. 278.

 II.    Discovery Progress Since the Parties’ Last Status Report Concerning Discovery

            a. Depositions

        Plaintiff recently deposed three Trader Defendants—Paul Commins (November 30, 2023),

Elliott Pickering (December 5, 2023), and Matthew Rhys Thompson (December 7, 2023)—and

will depose a fourth Trader Defendant, Henry Lunn, on January 5, 2023.

        The Trader Defendants have noticed the deposition of Plaintiff and its principal, Robert

Mish, for December 20, 2023, as well as the depositions of two non-party witnesses on December

14, 2023 (Mr. John Felag), and December 18, 2023 (Mr. Justin Boshnack).

        Plaintiff served its objections to the Trader Defendants’ twenty-eight (28) topic, Rule



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30(b)(6) notice on December 6, 2023 and the parties have met and conferred concerning the topics

and Plaintiff’s objections. The parties have also conferred concerning the length of the Mish

deposition and have reached an agreement that Defendants may depose Mr. Mish for one day of

up to eight hours. Counsel for Plaintiff and counsel for the Vega Defendants plan to attend the

two nonparty depositions noticed by the Trader Defendants scheduled for December 14 and 18

and reserved time to examine the witnesses if necessary.

           b. Document Productions

       Since the last joint status report, (ECF No. 244), the parties have received twenty-two (22)

productions, mainly from nonparties, consisting of market and trading data, as well as

communications. The following nonparties have produced documents in response to Rule 45

subpoenas since the July 12 status report: the Chicago Mercantile Exchange (“CME”), ICE Futures

Europe, GH Financials LLC, Gain Capital Inc., Interactive Brokers LLC, Three Lakes Advisors,

AMP Global, E*Trade, TD Ameritrade, High Ridge Futures, Vision Financial Markets and

Trading Technologies.

           c. Outstanding Subpoenas and the Vega Defendants’ Efforts to Obtain
              Production

       Defendants Vega and Spires have served subpoenas for documents on twenty-eight (28)

companies that (according to Vega and Spires) are sophisticated traders frequently trading WTI

contracts on the New York Mercantile Exchange (“NYMEX”).

       A. Through their counsel at Akerman, Vega and Spires served subpoenas on thirteen (13)

companies: (1) Bank of China Limited; (2) BASF Intertrade Corporation; (3) BP Products North

America, Inc.; (4) Citadel Securities LLC; (5) ExxonMobil Oil Corporation; (6) Glencore Ltd.; (7)

Macquarie Inc.; (8) Mercuria Energy America LLC; (9) Petrochina International (America) Inc.;




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(10) Repsol Trading USA LLC; (11) Shell Trading (US) Company; (12) Socar Trading North

America LLC; and (13) Vitol Incorporated.

       B. Vega and Spires have also retained Michelle Nasser of Dowd Bennett to represent them

and to serve subpoenas on the following fifteen (15) additional companies: (1) Barclays Bank PLC;

(2) BlackRock, Inc.; (3) BNP Paribas S.A.; (4) Capital One National Association; (5) Chevron

USA Inc.; (6) Citigroup Inc.; (7) ConocoPhillips Company; (8) Goldman Sachs Group; (9) ING

Capital Markets LLC; (10) JP Morgan Chase Bank NA; (11) Mitsubishi International Corporation;

(12) Morgan Stanley; (13) Nomura Securities International Inc.; (14) Pacific Investment

Management Company; and (15) Phillips 66 Co.

       Position of Vega and Spires. Based on initial meet-and-confer conferences with some of

the subpoena recipients, Vega and Spires anticipate that motion practice will likely be needed with

respect to some number of the subpoenas. If a motion to compel is needed with respect to Bank

of China, Vega and Spires anticipate that a motion will be filed in the U.S. District Court for the

Southern District of New York, which is the place of compliance and which has frequently

resolved motions to compel with respect to Bank of China and its anticipated arguments that it is

not permitted to produce documents under Chinese law and that service of Bank of China cannot

be effectuated through its New York branch. See, e.g., Wultz v. Bank of China Limited, 910 F.

Supp. 2d 548 (S.D.N.Y. 2012). With respect to other motions, Vega and Spires will seek to file a

consolidated motion to compel and transfer the motion to this Court for resolution from the various

districts that would otherwise be the place of compliance. See FED. R. CIV. P. 45(f) (permitting

transfer to the issuing court where the subpoena recipient consents or where there are "exceptional

circumstances"); see also id. advisory committee's note to 2013 amendments (observing that

"transfer may be warranted in order to avoid disrupting the issuing court's management of the



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underlying litigation, as when . . . the same issues are likely to arise in discovery in many

districts.").

        Plaintiff has requested a meet-and-confer with counsel for Vega and Spires concerning the

foregoing nonparty subpoenas recently served on Plaintiff. Based upon the outcome of the meet

and confer process, Plaintiff is considering whether to file, and may file, a motion to quash one or

more of the above referenced subpoenas.

        On September 18, 2023, Plaintiff served a second Rule 45 document subpoena on Trading

Technologies. The parties continue to consider whether additional subpoenas will be necessary.

                d. Other Discovery Issues

        Plaintiff continues to meet and confer with the Vega Defendants and the Trader Defendants

about the status of their respective document productions, including the Trader Defendants’

objections to producing documents they were previously compelled to produce to the Financial

Conduct Authority (“FCA”). The parties are continuing to meet and confer, and will notify the

Court in the event that its assistance is required to resolve any disputes.

Dated: December 14, 2023                           Respectfully submitted,

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